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                      UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF TEXAS
                            SHERMAN DIVISION

MORINVILLE, )                                       Case No. 20-cv-00980
                          )
      Plaintiff, )
                          )
      v.              )
                          )
OVERWATCH )
TECHNOLOGIES, INC. ET )
AL.,                   )
                          )
      Defendants. )



                PLAINTIFF S MOTION TO AMEND COMPLAINT

                                 EXHIBIT I




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